Case 2:19-cv-00276-SPC-UAM Document 12 Filed 03/29/19 Page 1 of 10 PageID 27



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                                  Chief Judge Moore
                               Magistrate Judge Becerra

CAROL N. MAZZARIOL,
individually and on behalf of others all            CLASS ACTION
similarly situated,

               Plaintiff,                           CASE NO.: 4:19-cv-10015-KMM

v.

MEDSPA DEL MAR, LLC,
a Florida Limited Liability Company,

               Defendant.
                                             /

      DEFENDANT’S, MEDSPA DEL MAR, LLC, MOTION TO DISMISS COMPLAINT
     FOR IMPROPER VENUE, OR, IN THE ALTERNATIVE, MOTION TO TRANSFER
                AND INCORPORATED MEMORANDUM OF LAW

        COMES NOW Defendant, MEDSPA DEL MAR, LLC, by and through its undersigned

attorneys, pursuant to Rule 12(b)(3), Fed. R. Civ. P. and 28 U.S.C. §§ 1404(a) and 1406(a), and

files this Motion to Dismiss Plaintiff’s, CAROL N. MAZZARIOL, Class Action Complaint

(“Complaint”) for Improper Venue, or, in the alternative, Motion To Transfer with incorporated

Memorandum of Law.

                                       INTRODUCTION

        Plaintiff has brought a two-count Complaint seeking class certification for alleged

violations of the Telephone Consumer Protection Act (the “TCPA”) against Defendant, MedSpa

Del Mar, LLC. Defendant is in the medical spa business providing medically supervised clinical

treatments, aesthetic formulations and services out of an office located at 898 5th Avenue in

Naples, Collier County, Florida. According to the Plaintiff’s Complaint, Plaintiff, Carol N.

Mazzariol, is a natural person, who at all times relevant to this action, was a resident of Monroe
Case 2:19-cv-00276-SPC-UAM Document 12 Filed 03/29/19 Page 2 of 10 PageID 28



County, Florida. Defendant is a Florida limited liability company whose principal office and

place of business is located in Naples, Collier County, Florida. Plaintiff alleges in her Complaint

that venue is proper in the U.S. District Court of the Southern District of Florida pursuant to 28

U.S.C. § 1391 (b) and (c) because Defendant is deemed to reside in any judicial district in which

it is subject to the court’s personal jurisdiction, and because Defendant markets its services

within this district thereby establishing sufficient contacts to subject it to personal jurisdiction.

Plaintiff further claims that Defendant’s alleged tortious conduct against Plaintiff occurred

within the State of Florida and that, on information and belief, Defendant has sent the same text

messages complained of by Plaintiff to other individuals within this judicial district, such that

some of the Defendant’s acts in making such calls have occurred within this district, subjecting

Defendant to jurisdiction in the State of Florida. Defendant denies these claims and contends

that venue is improper and therefore this case should be dismissed, or, in the alternative, that the

proper venue should be in the U.S. District Court of the Middle District of Florida and that this

case should be transferred to the Middle District, Fort Myers division.

                                          ARGUMENT

     THE COURT SHOULD DISMISS FOR IMPROPER VENUE, OR, IN THE
  ALTERNATIVE, TRANSFER VENUE TO THE U.S. DISTRICT COURT FOR THE
                   MIDDLE DISTRICT OF FLORIDA

       Pursuant to Rule 12(b)(3), Fed. R. Civ. P., Defendant objects to venue in this matter and

moves to dismiss or, in the alternative, transfer venue to the U.S. District Court for the Middle

District of Florida. When a defendant objects to venue under Rule 12(b)(3), the plaintiff bears

the burden of showing that her venue selection is proper.    See Delong Equip. Co. v. Wash. Mills

Abrasive Co., 840 F.2d 843, 845 (11th Cir. 1988); see also Wai v. Rainbow Holdings, 215 F.




                                                 2
Case 2:19-cv-00276-SPC-UAM Document 12 Filed 03/29/19 Page 3 of 10 PageID 29



Supp. 2d 1261, 1268 (S.D. Fla. 2004). The court may also consider facts outside the complaint to

determine whether venue is proper. See id.

        Generally, venue in federal civil actions is governed by 28 U.S.C. § 1391. Pursuant to §

1391(b), venue is proper in: (1) a judicial district in which any defendant resides, if all

defendants are residents of the state in which the district is located; (2) a judicial district in

which a substantial part of the events or omissions giving rise to the claim occurred, or a

substantial part of property that is the subject of the action is situated; or (3) if there is not district

in which an action may otherwise be brought as provided in this section, any judicial district in

which any defendant is subject to the court’s personal jurisdiction with respect to such action.”

TMJ Practice Mgmt. Assocs., Inc. v. Curran, 2017 WL 3130421, at *3 (S.D. Fla. July 24, 2017).

If venue is improper, the district court “shall dismiss, or if it be in the interests of justice, transfer

such case to any district or division in which it could have been brought.” 28 U.S.C § 1406(a).

        Defendant is a Florida limited liability company whose principal place of business is in

Naples, Collier County, Florida. Defendant’s sole office for purposes of conducting business

consists of the medical spa located at 898 5th Avenue in Naples. It does not own or operate any

other medical spas. Pursuant to 28 U.S.C. § 1391 this action should have been brought in the

judicial district in which the Defendant resides.

        According to 28 U.S.C. § 1391, residency for all venue purposes for a corporate entity

like Defendant “… shall be deemed to reside, if a defendant, in any judicial district in which

such defendant is subject to the court’s personal jurisdiction with respect to the civil action in

question,” which would be the U.S. District Court of the Middle District of Florida, which has

jurisdiction over matters and serves Naples and Collier County through the Fort Myers Division.




                                                    3
Case 2:19-cv-00276-SPC-UAM Document 12 Filed 03/29/19 Page 4 of 10 PageID 30



       The basis for Plaintiff’s TCPA action against Defendant is several text messages that

were allegedly sent to Plaintiff’s cellular phone on or about December 5, 2018, a copy of which

is incorporated into Plaintiff’s Complaint at Page 6, Par. 23. Those messages were allegedly sent

from the Naples medical spa location and concern appointments, sales on services and products

related to the Naples business. Pursuant to 28 U.S.C. § 1391(b)(2), “A civil action may be

brought in a judicial district in which a substantial part of the events or omissions giving rise to

the claim occurred, or a substantial part of property that is the subject of the action is situated

…”.

       The judicial district in which a substantial part of the events or omissions giving rise to

the claim occurred would be the Middle Judicial District, not the Southern Judicial District, since

all of the texts that are the basis for Plaintiff’s TCPA claim were sent from the Naples, Collier

County medical spa location. Plaintiff claims that the texts were received within the Southern

Judicial District, however, the electronic transmission of same would have occurred in Naples. It

should also be mentioned at this point that it is Defendant’s contention that Plaintiff actually is

the one who first contacted the Plaintiff, not the other way around.            Plaintiff contacted

Defendant’s medical spa location in Naples, Florida for services to be performed at that location,

not Key West or Monroe County, where Defendant does not have an office, perform services or

conduct business.

       Additionally, although it does not appear that the Southern District has a similar Local

Rule, the Middle District Local Rule 1.02(c) states that “All civil proceedings of any kind shall

be instituted in that Division encompassing the county or counties having the greatest nexus with

the cause, giving due regard to the place where the claim arose and the residence or principal

place of business of the parties.” According to Local Rule 1.02(b)(5), the Fort Myers Division




                                                 4
Case 2:19-cv-00276-SPC-UAM Document 12 Filed 03/29/19 Page 5 of 10 PageID 31



includes Collier County. Local Rule 1.02(e) also states “The court may, within its discretion, or

upon good cause shown by any interested party, order that any case, civil or criminal, be

transferred from one Division to any other division for trial, or from one place of holding court to

another place of holding court in the same Division.”

       Further, this Court should transfer this action to the U.S. District Court for the Middle

District of Florida for the convenience of the parties and witnesses and in the interest of justice.

28 U.S.C. § 1404(a) provides that “[f]or the convenience of parties and witnesses, in the interest

of justice, a district court may transfer any civil action to any other district or division where it

may have been brought.” 28 U.S.C § 1404(a). Likewise, 28 U.S.C., § 1406(a) also provides that

the district court shall dismiss a case laying venue in the wrong division or district or transfer the

case to any district or division in which it could have been brought.

       In Pawlik v. Amerilife Group, LLC, 2014 WL 793080 (S.D. Fla. 2014), the court granted

a motion to transfer venue from the Southern District of Florida to the Middle District of Florida

where “Defendant’s principal place of business is located there, substantially all of the witnesses

reside there, Plaintiff maintains a business there, and Defendant’s actions substantially occurred

there.” Pawlik, at *3. The court held that the plaintiff failed to establish that the Southern District

of Florida was a proper venue where the allegations relating to the Southern district were “vague

and do not fulfill the venue statute’s requirement that a substantial part of the events or omissions

giving rise to the claim must have occurred in the Southern District of Florida.” Id. at *8.

       The appropriate venue for this action should be in the Middle District of Florida because

the Defendant’s principal place of business is located there, a substantial part of the events

occurred there, the alleged texts were made from there, the substance of the alleged texts relate to

services to be performed or products to be purchased there, any pertinent documents are located




                                                  5
Case 2:19-cv-00276-SPC-UAM Document 12 Filed 03/29/19 Page 6 of 10 PageID 32



there, the computer(s) are located there, and substantially all of the witnesses reside and/or work

there. The affidavit of Defendant’s principal, Denise Morris, is attached hereto as Exhibit “A”,

in support of this motion. The Middle District of Florida has a substantial connection to this

claim, not the Southern District of Florida whose only connection is, according to the Complaint,

where the Plaintiff resided and may have first received the alleged texts via her cellphone.

Plaintiff’s allegations fail to demonstrate any substantial relationship with this District.

       When a Motion to Transfer Venue is filed, the court must engage in a two-part process to

determine if it should be granted. Precision Fitness Equip., Inc. v. Nautilus, Inc., 2008 WL

2262052, at *1 (S.D. Fla. May 30, 2008).        First, the court must determine if the action could

have originally been brought in the venue where transfer is sought. It has certainly been well

established that this action could have been brought in the Middle District. Second, the court

must evaluate both the convenience of the parties including ‘relative ease of access to sources of

proof, availability of compulsory process for attendance of unwilling, and the cost of obtaining

attendance of willing witnesses; … and all other practical problems that make trial of a case

easy, expeditious and inexpensive.” Piper Aircraft Co. v. Reyno, 454 U.S. 235, 241, n. 6, 102

S.Ct. 252, 70 L.Ed.2d 419 (1981).

       Maintaining this action in the Southern District, Key West Division, is only convenient to

perhaps the Plaintiff and her attorneys. Other than that, mostly all of the witnesses and evidence

is located in or around Collier County. To require witnesses to travel to Key West for trial is

impractical, burdensome, expensive and would create an unnecessary hardship on the Defendant

and its witnesses. Defendant’s ability to properly defend this case would be severely prejudiced

should it be required to litigate and try this case in this District. The Court should also consider

the fact that Plaintiff attempts to certify a class for which, in the unlikely event actually proves




                                                  6
Case 2:19-cv-00276-SPC-UAM Document 12 Filed 03/29/19 Page 7 of 10 PageID 33



successful, this District would unquestionably not be a convenient forum for the other class

members, which according to Plaintiff’s own allegations, amount to “several thousand

individuals throughout the United States”. (Page 8, ¶37).

         WHEREFORE, Defendant, MedSpa Del Mar, LLC, requests this Court dismiss this case,

or, in the alternative, transfer this case to the U.S. District Court Middle District of Florida, Fort

Myers Division, and for such other and further relief as this Court deems just and proper.

                                 CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing was served via electronic

filing or by first class United States Mail to: Scott Adam Edelsberg, Edelsberg Law PA, 19495

Biscayne Blvd, #607, Aventura, FL 33180, scott@edelsberglaw.com and Andrew John Shamis,

14 NE 1st Avenue, Suite 1205, Miami, FL 33131, ashamis@sflinjuryattorneys.com, in the above

styled case this 29th day of March, 2019.

                                            /s/Stephen B. Sambol
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                                            MEDSPA DEL MAR, LLC

4834-7994-2799, v. 1




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Case 2:19-cv-00276-SPC-UAM Document 12 Filed 03/29/19 Page 8 of 10 PageID 34
                                                                       EXHIBIT "A"



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                  KEY WEST DIVISION

   CAROL N. MAZZARIOL, individually
   And on behalf of all others similarly situated,
                                                     Case No. 4:19-CV-10015-KMM
           Plaintiff,
   vs.

   MEDSPA DEL MAR, LLC,
   A Florida Limited Liability Company,

         Defendant.
   ____________________________________/

     AFFIDAVIT OF DENISE MORRIS IN SUPPORT OF DEFENDANT MEDSPA
          DEL MAR, LLC’S MOTION TO TRANSFER VENUE TO THE
          MIDDLE DISTRICT OF FLORIDA, FORT MYERS DIVISION

           BEFORE ME, the undersigned authority, duly authorized to administer oaths and

   take acknowledgments, personally appeared Denise Morris who, being first duly sworn,

   deposes and states as follows:

           1.       I am over the age of 18 and have personal knowledge of all matters stated

   in this affidavit.

           2.       I am the owner and Manager of Medspa Del Mar, LLC.

           3.       Medspa Del Mar, LLC is a medical spa providing medically supervised

   clinical treatments, aesthetic formulations and services and employs aesthetic medical

   professionals.

           4.       Medspa Del Mar, LLC is located at 898 5th Avenue South # 204 in Naples,

   Collier County, Florida. I also reside in Naples, Collier County, Florida.

           5.       In addition to myself, the following people reside in Naples and may be

   witnesses in this matter:
Case 2:19-cv-00276-SPC-UAM Document 12 Filed 03/29/19 Page 9 of 10 PageID 35



                  a. Rick J. Morris, a Manager of Medspa Del Mar, LLC, who resides in

                      Naples and may have knowledge regarding the business practices of

                      Medspa Del Mar, LLC and the text messages at issue in this lawsuit.

                  b. Katherine Carvallo, Medical Spa Manager at Medspa Del Mar, LLC,

                      who resides in Naples and may have knowledge regarding the text

                      messages at issue in this lawsuit.

                  c. Medspa Del Mar, LLC employees, all of whom reside in or around the

                      Naples, Collier County, Florida area, and may have knowledge

                      regarding the text messages at issue in this lawsuit.

          6.      Medspa Del Mar, LLC will be required to coordinate issues related to this

   lawsuit with the potential witnesses listed above in Naples.

          7.      Counsel for Medspa Del Mar, LLC is located in Orlando, Florida, in the

   Middle District of Florida.

          8.      Medspa Del Mar’s staff is located in Naples, Collier County, Florida.

          9.      All documents in the possession of Medspa Del Mar, LLC relating to this

   cause of action are located in Naples.

          10.     Medspa Del Mar operated exclusively out of Naples, Collier County,

   Florida during the time period involved in this lawsuit and continues to operate exclusively

   out of Naples, Collier County, Florida.

          11.     As explained by the foregoing, defending this lawsuit in Key West will pose

   a significant inconvenience and hardship on the management, employees, and witnesses of

   Medspa Del Mar, LLC.

   FURTHER AFFIANT SAYETH NAUGHT.



                                                2
Case 2:19-cv-00276-SPC-UAM Document 12 Filed 03/29/19 Page 10 of 10 PageID 36
